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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

LISA ANDRACKI,                                     )
                             Plaintiff,            )
                                                   )      No. 1:21-cv-709
-v-                                                )
                                                   )      Honorable Paul L. Maloney
ALANA LIVINGSTON and                               )
LIBERTY MUTUAL GROUP, INC.,                        )
                      Defendants.                  )
                                                   )

                                          JUDGMENT

        The Court concluded that it lacks subject matter jurisdiction over this lawsuit and has

ordered it remanded to the Eaton County Circuit Court. As required by Rule 58 of the

Federal Rules of Civil Procedure, JUDGMENT ENTERS.

        THIS ACTION IS TERMINATED.

        IT IS SO ORDERED.



Date:     October 26, 2021                                  /s/ Paul L. Maloney
                                                                  Paul L. Maloney
                                                                  United States District Judge
